ot £20 Sep
Fill in this information to identify your case: “clock 4\ 4

Debtor 1 Jocl Alan Galtney

First Namo Middle Name DEC 0 2 202]

 

(Spouse. if filing) First Name Middle Name Last Name United States Bankr upt
lbuquerque, New Mexico m

ae O check if this is
an amended
filing

 

United States Bankruptcy Court for the: District of New Mexico

 

 

 

Official Form.-108
Statement of Intention for Individuals Filing Under Chapter 7 12/15

 

If you are an individual filing under chapter 7, you must fill out this form if:
B creditors have claims secured by your property, or
w you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you fist on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060), fill in the information
below.

What do you intend to do with the property Did you claim the property as

identify the creditor and the property that is collateral that secures a debt? exempt on Schedule C?

List Your Unexpired Personal Property Leases

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G)},
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p}(2).

Describe your unexpired personal property leases Will the lease be assumed?

Sign Below

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any personal

property that is subject to an unexpired lease.
Sir nffeas

 

 

X  “Gignawre of Debtor 1 (/ x
Signature of Debtor 2
Date 12/01/2021
MMIDDIYYYY Date 12/01/2021
MMDDIYYY

Case 21-11322-7 Doc5_ Filed 12/02/21 Entered 12/02/21 09:46:22 Page 1 of 1

Official Form 108 Statement of Intention for Individuals Filing Under Chapter ? page 1 of 1
